Case 19-03204-JMC-13   Doc 6   Filed 05/03/19   EOD 05/03/19 17:08:40   Pg 1 of 5
Case 19-03204-JMC-13   Doc 6   Filed 05/03/19   EOD 05/03/19 17:08:40   Pg 2 of 5
Case 19-03204-JMC-13   Doc 6   Filed 05/03/19   EOD 05/03/19 17:08:40   Pg 3 of 5
Case 19-03204-JMC-13   Doc 6   Filed 05/03/19   EOD 05/03/19 17:08:40   Pg 4 of 5
Case 19-03204-JMC-13   Doc 6   Filed 05/03/19   EOD 05/03/19 17:08:40   Pg 5 of 5


                                    /s/ Cheyenne Nicole Perry
